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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  UNITED STATES OF AMERICA §
                                             § No. 2:19-CR-11
  v.                           §
                       § JUDGES JRG/RSP
  BEAU DANIEL MERRYMAN §


                                    FACTUAL BASIS

         Investigation by the Federal Bureau of Investigation (FBI) and the Cass County

 Sheriffs Office disclosed the following facts that establish that I, the defendant, Beau

 Daniel Merryman, committed the conduct described in Count 1 of the indictment, which

 charges a violation of 18 U.S.C. § 842(p)(2)(A) (Distribution of Information Relating to

 Explosives and Destructive Devices). I agree that the following factual basis is true and

 correct:


         1. Beginning in September 2019 and continuing through October 2019, in the

 Eastern District of Texas, I engaged in a series of online conversations with two people I

 now know were working for the FBI as Online Covert Employees (OCEs). These

 conversations took place on an encrypted messaging platform called Monarch. During

 these conversations, I discussed with the two OCEs how to make improvised explosive

 devices (lEDs) such as pipe bombs and pressure cooker bombs. I instructed the OCEs on

 general principles of making lEDs, what explosives or deflagrating materials to use, how

 to package the lEDs to increase pressure, what shrapnel to use, and how to ignite the

 lEDs, such as by using a fuse or electronic ignition from modified Christmas lights.


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         2.      During these conversations, the OCEs indicated that they intended to use

 the lEDs to destroy property and harm law enforcement and infrastructure targets. I

 advised the OCEs to first attack federal law enforcement; in particular the Bureau of

 Alcohol Tobacco, Firearms, and Explosives (ATF) personnel and facilities. I advised the

 OCEs to then attack infrastructure targets such as electrical substations after they had

 already executed the attacks on law enforcement. I intended that my teaching and

 information regarding lEDs be used or in furtherance of these attacks.

         3. I agree and stipulate that an attack on ATF personnel or facilities

 constitutes a federal crime of violence under 18 U.S.C. § 844(f). I further agree and

 stipulate that an attack on an electrical substation constitutes a federal crime of violence

 under 18 U.S.C. § 1366.


         3. lam pleading guilty to Count 1 in this case because I am guilty of the

 violation alleged. I have had an opportunity to consult with an attorney and I am satisfied

 with the advice and counsel provided to me. I acknowledge that these acts violated 18

 U.S.C. § 842(p)(2)(A). I hereby stipulate that the facts described above are true and

 correct, and I accept them as the uncontested facts of this case.




         Dated: /o 2&if
                                                   BEAU DANIEL MERRYMAN
                                                   Defendant




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         I have reviewed this Factual Basis with the defendant. Based on these discussions,

 I am satisfied that he understands the terms and effect of the Factual Basis and that he has

 signed it voluntarily.
                                                            /
         Dated:           &
                                                  KENNET R. AWK, II
                                                  Attorney for Defendant




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